Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 1 of 33

088s

O6°ES
006?
Ol'rr
Of 6E
6L<

00°86

78°68
LO TB
Os cL
PESO
6L<

OS 2Z1

62211
80201
83°16
L918
6L<

OO'SZ1

trol
ER Stl
Sc Ici
£9911
6L<

o0°0Se

L162
ECBOe
OS LSI
L9°99]
6L<

OS EL

arly
Se 19
elss
O0°6b
OSL

OS ez 1

6C 711
60°20T
88°16
LOE
6L-SL

ELESI

IE OFT
O9°LE1
Pe FL
BOZO
6L°SL

SLBIE

cS'002
60° C81
50°P9
Ce'svl
6L°SL

OS CIE

Sp 98Z
cv 09E
BE PES
EE ROE
6L°SL

Of HB

$808
OS"EL
ST99
O8'BS
bL-0L

OO'LFT

SL Yel
OS 'ZZ1
SZOIT
00°86
PL-OL

Sits

PBST
ELDEST
TS°Lt1
OS°EcT
PL-OL

OS Z9E

eFO0FT
SLRTe
88961
OOS £1
PL-OL

OO'SLE

SLEPE
OS'TIE
SC Le
00°0SZ
rL-0L

OVLTT

O3°201
00°86
OC'RE
OF'ee
69-59

10°96]

L£9°6L1
PEED
OO'LEI
L9°O¢1
69-59

0O'Sre

8S Pez
LY poe
SL es]
EDO]
69-S9

00'OSE

ES OZE
LO16z
Os'c9z
EL EET
69-S9

0000S

EEBSP
L9'9IP
OO'SLE
EE ECE
69-S9

OLCEL

8c TZ
SzOrl
€¢'66
0C'88
9-9

LS Oce

£TC0z
SLES
ESOL
OO'LPT
P9-09

EO CLE

59° EST
69°67
eL O0E
SLCal
F9-09

SE C6E

FOOSE
ELBE
LES62
OS°29E
P9-09

0S 29S

EO STS
SER9F
BB 1cP
OOSzE
¥9-09

SO'6EL

1O'8él
8°91
Lvl
O1e6
65°SS

OL TES

OE ELE
96°C61
LOPLI
LVSS1
6S-SS

v6'052

69°997
SP CVT
O07 81e
96'E61
6S-SS

eoSlP

66'08€
SEO OPE
CL TIE
BOLLE
6S-SS

SLEGS

LOPS
6L 6b
TeSrp
EX S6E
6s-Ss

00°F]

SLVE)
OS czi
Sc OLl
00°86
PS-0S

LOSE

69° PCE
EV FOC
SECBI
PEEST
PS-0S

SCSDE

ELO8T
1@°Sse
69°6¢7
LIV P07
PS-0S

OS LEP

PO L0P
BS POL
CL8ze
L9'16é
PS-OS

o0°SZ9

tG°ELS
EROS
SLS9Ob
LOOP
bS-OS

OF DLL

OL LOL
OOLPL
OL CEL
OO'L1I
GP-SP

10'P62

19692
[0°SvZ
1S0cZ
10961
6P- SP

OS LOE

BS OEE
S290C
EvSLE
OO'Sbe
6b-SP

00°SéS

Sc 18P
OS LEP
SL E6E
00°0SE
OF-SP

0004

Os'La9o
00'SZ9
oOs"Z9¢
00°00S
6P-SP

dh) ENIOd SISvd dOS/DA

OT T6E

BISLI
SC 6S
EC CPL
OFLC]
rr-OF

ISB1E

L616¢
Ch S9C
BS BET
VETIZ
Pe-OP

EVRB6E

SERIE
LETEE
69°862
Cr SOT
FE-OP

SLR9S

Soles
96 LP
90°9¢r
LV6LE
Fr-OP

Os'18

6L PPL
BOLLO
8o°609
LOLS
PP-OP

08 SOE

SO R81
OS TLT
SERS
OC LET
6ESE

LOEPE

crele
Pa Se
OO LSE
LY REE
6E°SE

SL 8th

CO'EGE
60 LSE
OS IZE
ER'S8E
GE-SE

os Zio

oP 19S
crOtTSs
SE Osh
EE BOP
6£°GE

OO'SLE

80°08
LV 6¢éL
Se9oso
EC ERS
6E-SE

OS 0ce

C1eoc
SL'CSI
BESol
OO LF
FE-OE

ISLOE

8B°9EE
9 90E
£9'SLCE
10'ShZ
PE-OF

BC SP

60 1cr
18°CBE
ES PE
SCO0E
PE-OE

SE989

95°109
Be 9¢S
6 26r
OS LEP
PO-BE

OS°LE6

BE 6S8
SE Tae
EL EOL
00°Se9
PE-OE

Oc See

OOST?
00°96T
OF SLT
OF 9S
Oc>

10°C6e

POOSE
89°9ZE
1O767
PE LOT
0e>

00°06?

LU 6bP
EL BOP
OS LSE
LOOSE
0e>

00004

LO Tp9
EE ERS
oo; ccs
L9°99P
og>

00°000T

L9°916
Cf EER
O0'OS2
£9°999
or>

SUU00W gt<
SYILOW
OE-8T
SIJWUOU Q[-g
SUJUOL 9-7
SHOW! 7-9
9 Sanfuy

STPPUGUE oe<
sipooul
OE-8T
SUOMI gT-9
SIPUOWL 9-7
SYJUOM 7-g
g Ainfuy

syjuOU 9E<
“styjgoul
O£-81
STpUOW 8T-9
SHIUOW 9-7
syUOUl 7-9
p dinfuy

SY}HWOW jo<
SI} uoWw
O€-81
SI}UOU BT-9
SqUOUI 9-7
SUCH 7-9
¢ Ainfuy

SUjJuOUL of&<
SUG
O£-81
SIPUOW 8T-9
SYJUOU 9-7
SUJWOW 7-9
zy 7 Aanfuy

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 2 of 33

4.

Example. A 50-year-old MI/SCD Qualifying Program Claimant, who sustained a
Level 2 Injury and qualified for an Overall Duration of 18-30 months will be

assigned 572.92 Basis Points.

B. Label Adjustment and Consistency Adjustment:

1)

2)

Label Adjustment. The Basis Points of a MI/SCD Qualifying Program Claimant
will be adjusted (in accordance with Section 1C of this Exhibit 3.2.1) as follows:

a)

b)

c)

d)

If the Eligible Event occurred on or prior to March 9, 2000, then a
downward 20% adjustment.

If the Eligible Event occurred after March 9, 2000, but prior to or on April
13, 2002, then an upward adjustment of 15%.

If Vioxx use (determined in accordance with Exhibit 2.2.2 to the
Agreement) commenced before April 13, 2002 and the Eligible Event
occurred after April 12, 2002, then there is no adjustment.

If Vioxx use (determined in accordance with Exhibit 2.2.2 to the
Agreement) commenced after April 13, 2002 and the Eligible Event
occurred after April 13, 2002, then a downward adjustment of 15%,

Consistency Adjustment. A MI/SCD Qualifying Program Claimant’s consistency

of usage shall be determined by analyzing the frequency of use of Vioxx in the
twelve (12) months preceding the Eligible Event (such 12-month period, the
“Review Periad”) (“Consistency of Use”).

The Consistency of Use will be calculated in accordance with the
following:

(1)

(ii)

(iii)

Ifthe MI/SCD Qualifying Program Claimant filled more than one
prescription during the Review Period, then divide the total
number of pills received under such filled prescriptions by the
number of days between the date of the dispensing of the first such
prescription in the Review Period and the Eligible Event.

If the MI/SCD Qualifying Program Claimant filled only one
prescription during the Review Period, divide the total number of
pills received under such prescription by the number of days
between the date such pills were received and the Eligible Eveni.

Ifthe MI/SCD Qualifying Program Claimant’s last pre-Eligible
Event prescription was dispensed close in time to the Eligible
Event such that the number of pills received at that time exceeds
the number of days remaining until the Eligible Event, the number
of pills from that last filled prescription shall be prorated.

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 3 of 33

(b) After the MI/SCD Qualifying Program Claimant’s Consistency of Use has
been determined, the Consistency Adjustment will be made (in accordance

with Section 1C below) as follows:

{1) If the Consistency of Use is equal to or greater than 71%, then
there will be a 20% upward adjustment, Dut only if the MI/SCD
Qualifying Program Claimant’s Overall Duration is greater than
two (2) months. Ifthe Overall Duration is 0 - 2 months, then there
will be no adjustment.

(ii) Ifthe Consistency of Use is between 57 - 70%, there will be a 10%
downward adjustment, regardless of the Overall Duration.

(ii) Ifthe Consistency of Use is between 50 - 56%, then the
Consistency Adjustment will be a 20% downward adjustment,
regardless of the Overall Duration.

(iv) Ifthe Consistency of Use is less than 50%, then there is a 30%
downward Consistency Adjustment, regardless of the Overall
Duration.

Calculation of Label and Consistency Adjustments. Once the Label Adjustment and
Consistency Adjustment have been determined, those two adjustments shali be added
together. Then, the MI/SCD Qualifying Program Claimant’s Basis Points will be
multiplied by the resulting aggregate percentage. The product of that equation is known
as the “Subtotal Points” (i.e. Basis Pots x [100% + (Label Adjustment Percentage plus
Consistency Adjustment Percentage)] = Subtotal Points).

Example. A MI/SCD Qualifying Program Claimant (50-year-old, with a Level 2 Injury,
and 18-30 months of Overall Duration) has an Eligibie Event on April 4, 2001. The
Qualifying Program Claimant had been dispensed 214 pills between April 4, 2000 and
April 4, 2001. This Qualifying Program Claimant’s Label Adjustment is +15% (see
1B(1}(b)) and his Consistency Adjustment is -10% (58% -- 214 pills/366 days -- see
1B(2)(b)(ii)) for an aggregate Label Adjustment and Consistency Adjustment of +5%
(15% - 10%). So, in this example, the Sub-Total Pomts would be 601.57 (572.92 Basis
Pis x 5% -- aggregate Label and Consistency Adjustment; or 572.92 x 105%).

Risk Factor Adjustments.

1} The definition of the relevant risk factors for purposes of evaluating the MI/SCD
Qualifying Program Claimant’s claim and the assigned percentage adjustment per
risk factor are as follows:
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 4 of 33

MI/SCD RISK FACTORS
Risk Factor Definition Reduction
Regular Smeking |» Current tobacco product * 30%

user. “Current User” is
anyone who has used
cigarettes or cigars within
one (1) year of the Eligible
Event.

Extreme Smoking | Evidenceofbeinga Current |* 530%
User within one (1) year of
the Eligible Event and a pack
history of 30 years or more.

Post-Eligible Event |e Any cigarette or cigar use =» 20%

Smoking that post-dates the Eligible
Event.
Cholesteral e Controlled: Any history of « 20%

or diagnosis of
hypercholesterolemia within
3 years prior to the Eligible
Event, at the time of the
Eligible Event or within 2
weeks after the Eligible
Event; or presence of statin
(or other cholesteral-
lowering medication} in
medical records or pharmacy
records within 3 years prior
to, at the time of (including
if the medication ts initiated
as a treatment during or at
discharge from the Eligible
Event) or within two weeks
after the Eligible Event.

© Uncontrolled: Any history of | « 30%
or notation of a treating
physician of non-compliance
with cholesterol medication,
uncontrolled cholesterol,
poorly controlled
cholesterol, cholestercl not
medically controlled or
similar reference within 3
years prior to the Eligible
Event, at the time of the
Eligible Event or within two
weeks after the Eligible
Event.

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 5 of 33

Hypertension a

Controlled: Any history or
diagnosis of hypertension in
medical records within 3
years prior to the Bligible
Bvent, at time of the Eligible
Event, or within 2 weeks
after the Eligible Event; or
presence of hypertension
medication in medical or
pharmacy records at the time
of (including if the
medication is initiated as a
treatment during or at
discharge from the Eligible
Event), within 3 years prior
to, or within bvo weeks after
the Eligible Event,

Uncontrolled: Any history
or notation of a treating
physician of non-compliance
with hypertension
medication, uncontrolled
hypertension, poorly
controlled hypertension,
hypertension not medically
controlled or similar
reference within 3 years
prior to the Eligible Event, at
the time of the Eligible
Event or within two weeks
after the Eligible Event .

20%

30%

Diabetes .

Controlled: Any history of
or diagnosis of diabetes
within 3 years prior to the
Eligible Event, at the time of
the Eligible Event or within
2 weeks after the Eligible
Event; or presence of
diabetic medication in
medical records or pharmacy
records within 3 years prior
to, at the time of (including
if the medication is initiated
as a treatment during or at
discharge from the Eligible
Event) or within two weeks
after the Eligible Event.

Uncontrolled: Any history
of or notation of a treating
physician of non-compliance
with diabetic medication,

20%

30%

-g-

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 6 of 33

uncontrolled diabetes, poorly
controlled diabetes, diabetes
not medically controlled or
similar reference within 3
years prior to the Eligible
Event, at the time of the
Bligible Event or within two

Disease, Cebrovascular
Disease, or Rena! Stenosis.

weeks after the Eligible
Event.
Obesity At the Eligible Event, BMI > 17.5%
30 ke/m
At the Eligible Event, BMI > 40%
40 kg/m
60%
At the Eligible Event, BM] =
50 kg/m
Family History
« Unambiguous First degree relative (sibling 25%
or parent) with early-onset
MUSCD - male relative at 55
years of age or less and
female at 65 years of age or
less.
* Ambiguous Family history noted as a 15%
cardiovascular risk factor ,
without specifying the age,
gender or relationship of the
family member(s) to the
Eligible Claimant.
Alcohol Abuse Notation of alcohol abuse 45%
within five years of the
Eligible Event.
Prior MI or Documented MI prior to 55%
Coronary Artery initiation of Vioxx; or
Bypass Graft
(“CABG”) CABG pnior to initiation of
Vioxx.
Pre-existing Any diagnosis of CAD or 33%
Coronary Artery ischemic heart disease prior
Disease (“CAD”) to initiation of Vioxx, other
than a MI or CABG.
Prior A diagnosis of any of the 10%
Diagnosed following prior to the
Vascular Eligible Event: Carotid
Disease Stenosis, Peripheral Vascular

9.

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 7 of 33

Illegal Drug Use «  Mlicit drug use (including, © = =25% (within 5
but not limited to, cocaine, years)

LSD, and heroin, but
excluding marijuana) priorto { » 95% (within J
the Eligible Event. year)

Trigger e AsreferencedonlyinEvent |* 25%
Records, vigorous exercise
within two hours ofthe onset |» 50%, but only if
of Eligible Event symptoms surgery tigger
by those who do not
Toutinely exercise (including,
without limitation, climbing
hills, skiing, surfing,
distance biking, etc.); or total
joint arthroplasty or other
major surgery within 5 days
of the Eligible Event; or
gambling.

Accelerators » MtorCABGplusSmoking |* 90%
(Regular or Extreme) or
BMI > 40;

e BMi> 50 plus Smoking
(Regular or Extreme); or

© CAD plus Extreme Smoking

2) The Risk Factor Adjustments made to the Subtotal Points will be calculated in a
sequential order as follows:

(a) Obesity

i. BMI at Eligible Event 30-39: - 17.5%
il, BMI at Eligible Event 40-49: - 40%
iii. BMI at Eligible Event 50 or greater: - 60%

(b) Cholesterol]

L. Controlled: - 20%
i. Uncontrolled: - 30%

(c) HTN

i, Controlled: - 20%
i. Uncontrolled: - 30%

(d) Diabetes

i. Controlled: - 20%
il. Uncontrolled: - 30%

-10-

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 8 of 33

(e) Prior Diagnosed Vascular Disease (PVD): - 10%
(f) Prior MI or CABG: - 55%

(g) Extreme Smoking: - 50%

(h) Regular Smoking: - 30%

(i) Post-Eligible Event Smoking: - 20%

{j) Family History:

i. Ambiguous: - 15%
il. Unambiguous: - 25%

(k) | Coronary Artery Disease (“CAD”): - 33% (mo deduction for this risk
factor if the Qualifying Program Claimant has been assessed with the prior
MI or CABG risk factor).

(1} Tegal Drug Use:

1. Within 5 years of Eligible Event: - 25%
iL. Within 1 year of Eligible Event: - 95%

(m) Alcohol Abuse: - 45%
(n) Trigger: - 25%; or -50% for surgery trigger
(0) Accelerators: - 90%

i) If the MI/SCD Qualifying Program Claimant is found to suffer —
from any of the following consiellations of risk factors, then the
Qualifying Program Claimant will be assessed a 90% deduction
from the number of Points that exist after sequential deductions for
all other risk factors have been taken from the MI/SCD Qualifying
Program Claimant’s Subtotal Points:

° Prior MI or CABG plus Smoking (Regular or Extreme) or BMI >
40;

. BMI = 50 plus Smoking (Regular or Extreme); or

. CAD plus Extreme Smoking.

3) Example. A 50-year-old MI/SCD Qualifying Program Claimant who sustained a
Level 2 Injury and utilized the PRODUCT for an Overall Duration of 18-30
months. The Claimant’s Eligible Event occurred on April 4, 2001. In the 12
months prior to the Eligible Event, the MI/SCD Claimant was dispensed 214 pills.
The MY/SCD Claimant suffered from the following factors: (1) Obesity (BMI of

-ll-

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 9 of 33

33.4 at Eligible Event); (2) Controlled Cholesterol; (3) Controlled Hypertension;
and (4) Ambiguous Family History of heart disease.

° Basis Points §72,92
-- Label Adjustment +15%

-- Consistency Adjustment -10%

* Sub-Total Points 601.57
-- Obesity -17.5%
496.30

-- Controlled Cholesterol -20%
397.04

-- Controlled HTN -20%
317.63

-- Ambiguous Family -15%

History

TOTAL POINTS: 269.98

2. IS QUALIFYING PROGRAM CLAIMANT

A. Basis Points; The Basis Points awarded to an IS Qualifying Program Claimant will
depend upon: (1) the age of the Qualifying Program Claimant at the time of the Eligible Event;
(2} the Qualifying Program Claimant’s Overall Duration; and (3) the Qualifying Program
Claimant’s Injury Level.

1) Overall Duration, The IS Qualifying Program Claimant’s Overall Duration of use
of the PRODUCT shall be calculated in accordance with the following (and
Exhibit 2.2.2 to the Agreement):

a} To establish placement in an Overall Duration category, the Qualifying
Program Claimant must produce evidence of Vioxx prescriptions
dispensed or samples dispensed in accordance with the following pill
count definitions (and Exhibit 2.2.2 to the Agreement):

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 10 of 33

Number of Pills Dispensed Overall Duration Category

42 pills or less Less than 60 days

at least 43 pilis but less than 128 | Over 2 months to 6 months

pills

at least 128 pills but less than Over 6 months up to 18 months
389 pills

at least 389 pills but less than Over 18 months up to 30 months
639 pills

at least 639 pilis 30 months or more

b) If the IS Qualifying Program Claimant is dispensed a number of pills at a
time that exceeds the number of days remaining until the Eligible Event,
the number of pills from that last filled prescription shall be prorated for
the purposes of calculating Overall Duration at one pill per day.

2) Injury Level. The injury level suffered by the IS Qualifying Program Claimant
will be determined by the Claims Administrator utilizing the following criteria:

IS INJURY LEVELS
Level |
° Death
Level 2

® Disability such that IS Qualifying Program Claimant requires Full Time Care in either a
nursing care facility or in-home nursing care (and did not need full-time care prior to the
Eligible Event). Full-Time Care means care that is administered by a nurse or
independent caregiver (that is, other than a friend or family member} for 8 hours or more
each day.

Level 3

Disability such that the IS Qualifying Program Claimant requires some assistance to
perform one or more BADLs (but does not require Full-Time Care), provided that the Qualifying
Program Claimant did not need such assistance prior to the Eligible Event; or diagnosis at time
of Eligible Event and continuing for at least one year thereafter of aphasia or hemianopsia.

Level 4

° Disability such that the IS Qualifying Program Claimant requires some assistance to
perform one or more IADL’s, provided that the Qualifying Program Claimant did not
require such assistance prior to the Eligible Event.

-13-

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 11 of 33

Level 5
° Any injury not qualifying for Injury Levels 1, 2, 3 or 4.

The Basic Activities of Daily Living (““BADLs”) are: Dressing, Eating, Ambulating, Toileting,
and Hygiene.

The Instrumental Activities of Daily Living (“IADLs”) are: Ability to use the telephone, ability
to prepare and serve meals, ability to do laundry, ability to manage day to day finances, ability to
participate in housekeeping tasks, and ability to travel outside the home.

Whether the IS Qualifying Program Claimant is independent in any BADL or IADL shal! be
determined solely from Claimant’s medical records dated within 6 months of the Eligible Event.

For an IS Qualifying Program Claimant to qualify as requiring assistance in the performance of a
BADE or IADL, the Qualifying Program Claimant must require assistance for at least 6 months
following the date of the Eligible Event.

3) Basis Points Grid. Once the age, Overall Duration and Injury Level for the IS
Qualifying Program Claimant have been determined, each Qualifying Program
Ciaimant’s Basis Points will be assigned utilizing the following grid:

-|4-

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 12 of 33

8812
S002
Ef 81
179!
asl

6L<

Iv 6c
96°92
[ope
00°72
19°61
6L<

EBBS
ZG°CS
tO 67
Cl ve
7C'GE
6L<

Se LIL
Pe L01
70°86
ve BB
EP BL
6L<

Seze
6roL
£9'39
9LT9
06° FS
6L<

SLEv
O10P
OP OE
182E
LV62
6L-SL

Bes
Z6ES
COP
cl bP
ce GE
GL-SL

SULIT
pe Lol
vO'R6
pO RS
Eves
GL-SL

62SEC
69°S1e
80°96!
LP OLI
98°95]
6L°SL

TL P91
86051
SOLE
ESET
03°601
GL-SL

£9°¢9
51°09
69'PS
ta 6P
SLtv
PL-OL

FOB
88°08
ec ce
aloo
caves
PL-OL

LYOLI
OLISI
90 LPI
SeCcel
SULIT
PL-OL

vO CSE
EG EZE
C1 6e
1LLp9Z
oC SES
PL-OL

90'L97
L¥9eC
88°S0Z
GCSE
yo!
PL-OL

OS°L8
1Z08
CG°CL
£9°S9
fees
69-9

SVL
¥8°L01
PO'86
pe 38
EV BL
69-9

60SC~
69°S1Z
80°961
LV 9L1
98961
69-S9

6S°OLP
LE TEP
Star
FGZSE
EL ELE
69-59

TW6cE
S610
IS*phe
90 LYE
19612
69-S9

br'86
£o°06
£0°8
EG EL
£9°S9
9-09

SE Cel
ce lel
6c OT!
97 66
ve 88
r9-09

TL 9¢
SO Cre
65° 0ZZ
EoR6I
LYOLT
9-09

Ie'6cs
6c Sep
Bl ley
90° L6E
PE CSE
r9-09

6S OLE
TL6tt
cP BOL
VOLLE
OO LEE
9-09

16°01
Sc S6
65°98
CGLL
£69
65-5

Lael
90°8ET
er orl
aL vol
PIE6
6S-SS

1v'627
£198
pe cee
9° 60€
LE9B1
65-SS

CBBSS
Sc7els
69°S9OP
El6ly
SS OLe
65-55

BEIGE
Bo°8SE
B6°SZE
BEES
BL°09¢
6S-SS

- SI -

BE6OE
92001
SU 16
EOCE
COL
PS-0S

OO LPI
O08 PEI
Socal
colt
PO'86
rS-0S

CL PGE
[9'69¢
Ol’Sre
65° 02Z
80961
FS-OS

Pe RRS
Ze GES
02 067
8 Thr
ST CGE
PS-OS

OL IP
SPLLE
PlEre
BBE
1S*PLe
FS-OS

SC ltl
[E01
8601
by 86
05°18
ob-SP

LV SLL
OL 19]
90'LPL
SE CEL
SOL
6P-SP

PE'ESE
ES'ECE
el vac
IL 9%
62°87
éF-SP

BS S0L
90° LP9
vO RBS
TP 6cS
65° 0LP
6F-SP

el v6r
v6 CSP
SL LIP
6S°0LE
Tv62E
oP SP

dri INIOd SIsva SI

61 trl
reOEl
GP 811
P9901
6L.'F6
PROP

sl iél
SeSh1
TE6ST
BEC
Si Lel
Pr-Op

SECHE
6P'OSE
ED SIE
OL ORE
OO VSE
Pr-OP

TL'yoL
86002
ST LED
ES ELS
02°60S
Pr-OP

6ESES
69° 06P
80°OrP
Lv LOv
OP OSE
PPR-OP

EPesi
Sf Orl
09421
ve vil
80°20
GESE

8a°S0c
cL Bal
LO LéI
Iv vst
S@LEl
GE-SE

SL ITP
SP'LLE
PIEPE
CB ROE
IS pie
GE-SE

£S°ECR
O6 PSL
LO989
SOLID
CO'6PS
GESE

Lpors
Ev BCS
6c O8P
SUCeP
TEBE
GE-SE

90791
6C 0ST
cL OEE
SO'EEL
8£°601
Po-0E

65° 0CZ
leco7e
Ce ERT
vRS9T
90'LF1
PE-NE

St ity
Lr bOv
SO LOL
Se 0LE
TE VGE
FE-OE

St CBB
T3808
60 SEL
9L°199
ve BBs
FE-DE

S9L19
81995
LE PIS
PC EOP
OL LLP
PE-OE

OOSLT
cy oor
ES ST
Sc LET
LOOTT
or

00°0SE
LV62Z
EE BOT
OS 187
L9°99T
or>

007005
EL BSP
LOOT
OO'SLE
EL'EEE
oe>

000001
L9916
EC EER
oo osz
£9°999

Oe

00 002
LO 199
EE ERS
oo Sz
L£9°99¢
Or>

SIQUOL gr<
SUIPUOM OE-RT
SYHIOW BT-9
SIPWOW 9-7
SYJUOM 7-9
g Ainfay

sypuow ge<
SyUOUT OE-RT
SI}UOUT gT-9
SUJUOUE Q-7
SyjUOUL 7-9
p santuy

squoW of<
SIJUOW OE-8T
SUC BT-9
SIJWOW 9-7
suo 7-9
¢ 4anfuy

SUJNOW ge<
STPUOW Ye-ST
SUPOOU QT-9
SIUOUE 9-7
sIUOW 7Z-Q
z Aanfay

sqJUOLU ge<
SqJUOW OE-8T
SIpUOU BT-9
SYJUOUL O-Z
SsyuCU 7-9
y Arnfuy

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 13 of 33

B.

Example. A 50-year-old IS Qualifying Program Claimant, who sustained a Level
3 Injury and qualified for an Overall Duration of 18-30 months will be assigned

269.61 Basis Points.

Label Adjustment and Consistency Adjustment:

1)

2)

Label Adjustment. The Basis Points of an IS Qualifying Program Claimant will
be adjusted (in accordance with Section 2C of this Exhibit 3.2. 1} as follows:

a) If the Eligible Event occurred on or prior to March 9, 2000, then a
downward 20% adjustment.

b} If the Eligible Event occurred after March 9 2000, but prior to or on April
13, 2002, then an upward adjustment of 15%.

c) If the Vioxx use (determined in accordance with Exhibit 2.2.2. to the
Agreement) occurred before April 13, 2002 and the Eligible Event
occurred after April 12, 2002, then there is no adjustment.

d) Tf the Vioxx use (determined in accordance with Exhibit 2.2.2. to the
Agreement) commenced after April 13, 2002 and the Eligible Event
occurred after April 13, 2002, then a downward adjustment of 15%.

Consistency Adjustment, An IS Qualifying Program Claimant’s consistency of

usage shall be determined by analyzing the Qualifying Program Claimant’s
frequency of use of the PRODUCT in the twelve (12) months preceding the
Eligible Event (such 12-month period, the “Review Period”) (“Consistency of

Use’).

(a) The Consistency of Use will be calculated in accordance with the
following:
(1) If the IS Qualifying Program Claimant received more than one

(ii)

(iii)

prescription during the Review Period, then divide the total
number of pills received under such filled prescriptions by the
number of days between the date of the dispensing of the first such
prescription in the Review Period and the Eligible Event.

If the IS Qualifying Program Claimant filled only one prescription
during the Review Period, divide the total number of pills received
under such filed prescriptions by the number of days between the
date such pills were received and the Eligible Event,

If the IS Qualifying Program Claimant’s last pre-Eligible Event
prescription was dispensed close in time to the Eligible Event such
that the number of pills received at that time exceeds the number of
days remaining until] the Eligible Event, the number of pills from
that last filled prescription shall be prorated,

-16-
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 14 of 33

C.

(b) After the IS Qualifying Program Claimant’s Consistency of Use has been
determined, the Consistency Adjustment will be made (in accordance with
Section 2C below) as follows:

(i) If the Consistency of Use is equal to or greater than 71%, then
there will be a 20% upward adjustment, but only ifthe IS
Qualifying Program Clatmant’s Overall Duration is greater than
two (2) months. Ifthe Overall Duration is 0 - 2 months, then there
will be no adjustment.

(ii) Ifthe Consistency of Use is between 57 - 70%, there will be a 10%
downward adjustment, regardless of the Overall Duration.

(ii) Ifthe Consistency of Use is between 50 - 56%, then the
Consistency Adjustment will be a 20% downward adjustment,
regardless of the Overall Duration.

(iv) Ifthe Consistency of Use is less than 50% then there is a 30%
downward Consistency Adjustment, regardiess of the Overall
Duration.

Calculation of Label and Consistency Adjustments. Once the Label Adjustment and
Consistency Adjustment Lave been determined, those two adjustments shall be added
together. Then, the IS Qualifying Program Claimant’s Basis Points will be multiplied by
the resulting ageregate percentage. The product of that equation is known as the

_. “Subtotal Points” (i.e. Basis Points x [100% +.(Labei Adjustment percentage plus

Consistency Adjustment percentage)] = Subtotal Points).

Example, An IS Qualifying Program Claimant (50-year-old, with a Level 3 Injury, and
18-30 months of Overail Duration) has an Eligible Event on April 4, 2001. Prior to that
time, the Qualifying Program Claimant had been dispensed 214 pills between April 4,
2000 and April 4, 2001. The Qualifying Program Claimant’s Label Adjustment is +15%
(see 2B(1)(b)) and his Consistency Adjustment is -10% (58% -- 214 pills/366 days -- see
2B(2)(b){it)) for an aggregate Label Adjustment and Consistency Adjustment of +5%
(15% - 10%), So, in this example, the Sub-Total Points would be 283.10 (269.61 Basis
Pts x 5% -- aggregate Label and Consistency Adjustment; or 269.61 x 105%),

Risk Factor Adjustments,

1) The definition of the relevant risk factors for purposes of evaluating the IS
Qualifying Program Claimant’s claim and the assigned percentage adjustment per
risk factor are as follows

-l7-
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 15 of 33

IS RISK FACTORS
Risk Factor Definition Reduction
Regular Smoking Current tobacco product 30%

user. “Current User” is
anyone who has used
cigarettes or cigars within
one (1) year of the Eligible
Event.

Extreme Smoking Evidence of being a Current 50%
User within one (1} year of
the Eligible Event and a pack
history of 30 years or more.
Post-Eligible Event Any cigarette or cigar use 20%
Smoking that posi-dates the Eligible
Event.
Smoking Plus Birth Regular or Extreme Smoking 55% - with
Control Use within plus use of prescription birth Regular Smceking;
1 Month of Eligible control occurring within one or
Event month of the Eligible Bvent. 70% - with
Extreme Smoking
Cholesterol 10%

Controlled: Any history of
or diagnosis of
hypercholesterolemia within
3 years prior to the Eligible
Event, at the time of the
Eligible Event or within 2
weeks after the Eligible
Event; or presence of statin
(or other cholesteral-
lowering medication) in
medical records or pharmacy
records within 3 years prior
to, at the time of {including
if the medication is initiated
as a treatment during or at
discharge from the Eligible
Event) or within two weeks
after the Eligible Event.

Uncontrolled: Any history of
or notation of a treating
physician of non-compliance
with cholesterol medication,
uncontrolled cholesterol,
poorly controlled

cholesterol, cholesterol] not
medically controlled or
similar reference within 3

20%

-18-

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 16 of 33

years prior to the Eligible
Event, at the time of the
Eligible Event or within two
weeks after the Eligible
Event .

Hypertension Controlled: Any history or * 30%
diagnosis of hypertension im
medica] records within 3 years
prior to the Eligible Event, at time
of the Eligible Event, or within 2
weeks after the Eligible Event; or
presence of hypertension
medication in medical or
pharmacy records at the time of
(including if the medication is
initiated as a treatment during or
at discharge from the Eligible
Event}, within 3 years prior to, or
within two weeks after the
Eligible Event.

» 40%
Uncontrolled: Any history or
notation of a treating physician of
non-compliance with hypertension
medication, uncontrolled
hypertension, poorly controlled
hypertension, hypertension not
medically controlled or similar
reference within 3 years pricr to
the Eligible Event, at the time of
the Eligible Event or within two
weeks after the Eligible Event,

-19-

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 17 of 33

Diabetes

Controlled: Any history of or diagnosis
of diabetes within 3 years prior to the
Eligible Event, at the time of the
Eligible Event or within 2 weeks after
the Eligible Event; or presence of
diabetic medication in medical records
or pharmacy records within 3 years
prior to, at the time of (including if the
medication is initiated as a treatment
during or at discharge from the Eligible
Event) or within two weeks after the
Eligible Eveni.

Uncontrolled: Any history of or
notation of a treating physician of non-
compliance with diabetic medication,
uncontrolled diabetes, poorly controlled
diabetes, diabetes not medically
controlled or similar reference within 3
years prior to the Eligible Event, at the
time of the Eligible Event or within pvo
weeks after the Eligible Event.

20%

30%

Obesity

At the Eligible Event, BMI > 30 kg/n
At the Eligible Event, BMI > 40 ke/m

At the Eligible Event, BMI > 50 kg/m

17.5%
40%

60%

Family History

« Unambiguous

« Ambiguous

First degree relative (sibling or parent)
with early-onset stroke - male relative
at 55 years of age or less and female at
65 years of age or less.

Fantily history noted as a stroke risk
factor, without specifying the age,
gender or relationship of the family
member(s) to the Eligible Claimant.

25%

15%

Aleohol Abuse

Notation of alcohol abuse within five
years of the Eligible Event.

45%

Prior MU or Coronary
Artery Bypass Graft
(“CABG”)

Documented MI prior to initiation of
Vioxx;

CABG prior to initiation of Vioxx.

55%

Prior Stroke or TIA

Documented stroke prior to initiating
Vioxx; ar

Documented TIA prior to initiating
Vioxx, other than MI or CABG.

55%

Pre-existing Coronary

Any diagnosis of CAD or ischemic

33%

- 20 -

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 18 of 33

Artery Disease (“CAD”)

heart disease prior to initiation of
Vioxx, other than a MI or CABG,

Pre-Diagnosed Documented carotid artery disease 33%
Caratoid Artery before initial use of Vioxx other than a
Disease or Prior stroke or a TIA; or
Caratoid Artery. Documented carotid ariery procedure
Procedure (e.g. stenting or endarterectomy) befare -
initiation of Vioxx.
Prior Diagnosed A diagnosis of any of the following 10%
Vascular Disease prior to the Eligible Event: Carotid
Stenosis, Peripheral Vascular Disease ,
Cebrovascular Vascular Disease, or
Renal Stenosis.
Prior Artrial Fibrillation Decumented Artrial Fibrillation or 40%
or Heart Failure Heart Failure/Congestive Heart Failure
prior to the Eligible Event.
Diagnosis of Migraine Diagnosis of migraine headaches prior 15%
Headache to Eligible Event; or presence of
medication to treat or prevent migraine
headaches in pharmacy records.
Evidence of Qualifying Program 15%

Hormone Replacement
Therapy

Claimant’s use of hormone replacement
therapy within one (1) month of the
Eligible Event and initiated within 1
year of the Eligible Event.

Iltegal Drug Use

Ticit drug use (including, but not
limited te, cocaine, LSD, and heroin,
but excluding marijuana) pricr to the
Eligible Event.

25% (within 3 years)

95% (within / year)

Trigger

As referenced in Eligible Rvent
Records, vigorous exercise within two
hours of the onset of Hligible Event
symptoms by those who do not
routinely exercise (including, without
limitation, climbing hills, skiing,
surfing, distance biking, etc.); a head
trauma, or total joint arthroplasty or
other major surgery within 5 days of
the Eligible Event; or gambling.

25%; or

50%, but only if surgery
or head trauma trigger

Accelerators

Prior MI or CABG or Stroke or TIA
plus Smoking (Regular or
Extreme) or BMI > 40;

BMi > 50 plus Smoking (Regular or
Extreme); or

CAD or Carotid Artery Disease or
Procedure plus Extreme Smoking.

50%

2) The Risk Factor Adjustments made to the Subtotal Points will be calculated in a
sequential order as follows:

-21-

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 19 of 33

(a) Obesity

i. BMI at Eligible Event 30-39: - 17.5%
i. BMI at Eligible Event 40-49: - 40%
iil. BMt1 at Eligible Event 50 or greater: - 60%

(b} Cholesterol

i. Controlled: - 10%
il, Uncontrolled: - 20%

-22-

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 20 of 33

(c)

(d)

(e)
(i)
(g)

(h)

(i)
Q)
(k)
(1)
(m)

(n)

(0)
()

(D

(1)

HIN

1. Controlled: - 30%
it. Uncontrolled: - 40%

Diabetes

lL. Controlled: - 20%
il. Uncontrolled: - 30%

Prior MI or CABG: - 55%
Prior Stroke or TLA: -55%

Prior diagnosed Carotid Artery Disease or prior Carotid Artery
Procedure: -33%

Coronary Artery Disease (“CAD”): - 33% (no deduction for this risk
factor if the Qualifying Program Claimant has been assessed with the prior
MI/CABG risk factor).

Prior Diagnosed Vascular Disease (PVD): - 10%
Extreme Smoking: - 50%
Regular Smolcdng: - 30%

Post-Eligible Event Smoking: - 20%

- Smoking plus Birth Control (if this risk factor is assessed, then the

Claimant shall not also be assessed for the Smoking-Regular or Extreme-
tisk factor):

i. Regular Smoking plus Birth Control: -55%
ii, Extreme Smoking plus Birth Control: -70%

Family History:

L Ambiguous: - 15%
il. Unambiguous: - 25%

Prior Atrial Fibrillation or Heart Failure: -40%
HRT: -15%
Migraine: -15%

Illegal Drug Use:

- 23 -

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 21 of 33

1. Within 5 years of Eligible Event: - 25%
il. Within 1 year of Eligible Event: - 95%

(s) Alcohol Abuse: - 45%
(t) Trigger: - 25%: -50% for surgery or head trauma trigger:
(u) Accelerators - 90%

i) If the IS Qualifying Program Claimant is found to suffer from any
of the following constellations of risk factors, then the Qualifying
Program Claimant will be assessed an additional 90% deduction
from the number of Points that exist after sequential deductions for
the other risk factors have been taken from the IS Qualifying
Program Claimant’s Subtotal Points:

, Prior MI or CABG or Stroke or TIA plus Smoking (Regular or
Extreme) or BMI > 40;

. BMI = 50 plus Smoking (Regular or Extreme); or

. CAD or Carotid Artery Disease or Procedure plus Extreme
Smoking.

3) Example. A 50-year-old IS Qualifying Program Claimant who sustained a Level
3 Injury and utilized the PRODUCT for an Overall Duration of 18-30 monihs.
The Claimant’s Eligible Event occurred on April 4, 2001. In the 12 months prior
to the Eligible Event, the IS Claimant was dispensed 214 pills. The IS Claimant
suffered from the following factors: (1} Obesity (BMI of 33.4 at Eligible Event);
(2) Controlled Cholesterol; (3) Controlled Hypertension; and (4) Ambiguous
Family History of stroke.

® Basis Points 269.61

-- Label Adjustment +15%

-- Consistency Adjustment ._ 10%

e Sub-Total Points 283.09

-- Obesity -17.5%

233.55

-- Controlled Cholesterol _-10%

210.20

-- Controlled HTN -30%

147,14

-- Ambiguous Family 15%
History

TOTAL POINTS: 125.07

- 24 -
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 22 of 33

Exhibit 17.1.13

IN RE: VIOXX PRODUCTS

LIABILITY LITIGATION
Plaintiff or Claimant:

(name)

CLAIMS FORM

The Claims Package, including this Claims Form, must be submitted no later than
July 1, 2008 on behalf of all Enrolled Program Claimants, including pro se Enrolled Program
Claimants, in the Resolution Program outlined in the Settlement Agreement of November __;
2007 (the “Agreement”.

INSTRUCTIONS

lL, Counsel for Enrolled Program Claimants, and all pro se Enrolled Program
Claimants, must complete Sections I, I, M1, and IV of this Claims Fonn.

2, Attachment A to this Claims Form must be completed by the Enrolled
Program Clatmant only if an Enrolled Program Claimant has not completed and supplied a
Plaintiff Profile Form or Plaintiff Fact Sheet as part of the litigation in the Coordinated
Proceedings. If an Enrolled Program Claimant has completed a Plaintiff Profile Form or
Plaintiff Fact Sheet, those documents must be included in the Claims Package’.

I. CASE INFORMATION

A. Information Regarding Plaintiff or Clatmant:

Name

Address

Telephone Number

' Any response to deficiency notices with respect to a Plaintiff Profile Form or Plaintiff Fact
Sheet must also be included.
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 23 of 33

Social Security Number

Relationship to Product User (if other than Plaintiff/Claimant)

B. Information Regarding Primary Attomey:

Name of Attorney

Firm Name

City, State and Zip Code

Telephone Number —

Telecopy Number

E-mail Address

C. Has a civil action beeu filed in court alleging injuries as a result of Product User’s
use of Vioxx? Yes No

If“Yes,” provide the following:

Court/Jurisdiction

Case Caption

Case No.
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 24 of 33

D.. Did Plaintiff or Claimant seek tolling at any time under the Federal MDL Tolling
Agreement for the Product User’s injuries allegedly arising from use of Vi10xx?

Yes No

If “Yes,” provide the following:

Date of First Submission under the Federal MDL Toling Agreement

Date Submitted Claimant Profile Form

PERSONAL INFORMATION OF THE PRODUCT USER IF OTHER THAN
PLAINTIFF/CLAIMANT

A. Last Name:
First Name:
Middle Name or Inittal:
B. Any other names used or by which the Product User has been known, including but

not limited to maiden name:

C.° Social Security Number:

D. Date of Birth:

EB. Date of Death of Product User Gf Do you claim Product caused the death:
applicable): Yes No

F, Sex: Male Female
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 25 of 33

G. Current Street Address:

City ) State Zip Code
Date Began Residing at Address:

Il. GENERAL INFORMATION

A. Claim Information

1. Check the injury Plaintiff or Claimant is claiming from Product User's use
of Vioxx and indicate the date(s) of occurrence:

Injury Type Date(s)
__. Myocardial Infarction(“MI”")

___ Myocardial Infarction, Fatal
___ Sudden Cardiac Death (“SCD”)
___ Ischemic Stroke (“IS”)

___ Ischemic Stroke, Fatal

3. Is Plaintiff or Claimant applying to receive Extraordinary Injury Payments
pursuant to Section 4.2 of the Agreement?

TV. CLAMS PACKAGE MATERIALS

Attach all Claims Package materials as required by Section 1.3 of the Agreement.
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 26 of 33

Dated:

[Plaintiffs’/Claimants’ Attorney Name]
[Law Firm Name]

' Address]

[City/Town, State, Zip Code]

[Area Cod/Phone Number]

[Area Code/Fax Number]

[Email address]

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 27 of 33

ATTACHMENT A TO CLAIMS FORM

ATTENTION: THIS ATTACHMENT MUST BE COMPLETED
BY ENROLLED PROGRAM CLAIMANTS WHO HAVE NOT
PREVIOUSLY COMPLETED AND SUBMITTED A PLAINTIFF
PROFILE FORM OR PLAINTIFF FACT SHEET IN THE
COORDINATED PROCEEDINGS.

A. MEDICAL BACKGROUND OF PRODUCT USER

If at any time prior to the alleged injury, Product User underwent any of the following
procedures, was diagnosed with any of the following conditions, or used any of the
following substances, check all that apply and complete all additional mformation

requested for each:

0 Heart Attack QD Diabetes
D Coronary Bypass Surgery B Obesity
0 Coronary Artery Disease Height at Time of Alleged Event:
7 Vascular Disease Weight at Time of Alleged Event:
Oo Atrial Fibrillation O Migraine Headaches
0 Heart Failure 2 Tobacco
0 Stroke Type (e.g., cigarettes, cigars, pipe,
chewing tobacco):
u Transient Ischemic Attack Amount Smoked or Used Per Day (for
oO Carotid Artery Disease cigarettes, packs/day; for cigars,
cigars/day, etc.):
O Carotid Artery Procedure (e.g., Number of Years Used:
Endarterectomy or Stenting) cps
Date Quit (if applicable):
0 High Cholesterol O Birth Control
oO High Blood Pressure Dates of Use:
0 Alcohol Abuse D Hormone Replacement Therapy
0 Tilegal Drugs Dates of Use:

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 28 of 33

B. FAMILY HISTORY

At any time, have any of Product User’s parents or siblings experienced either of the

following:
oO Heart Attack 0 Stroke
Relative(s) Age(s} at Heart Attack Relative(s) Age(s) at Stroke

Cc, PRODUCT USAGE

Identify the dates (month, day, and year) that you began to take and stopped taking
Vioxx and, for each period, the dosage you took:

Date Began Date Stopped Dosage

CERTIFICATION AND AUTHORIZATION

I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information
provided in this Claims Form is true and correct to the best of my knowledge, information and

belief.

Signature Print Name Date

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 29 of 33

Exhibit 17.1.23
List of Excluded Persons

Thomas Cona v. Merck & Co., Inc., Docket No. A-000077-07 T1, Supenor Court
of New Jersey, Appellate Division (Ongmal Docket No, ATL-L-3553-05-MT)

Carol A, Emst vy. Merck & Co., Inc., Docket No. 14-06-00835-CY, State of Texas
Court of Appeals for the Fourteenth Court of Appeals District (Original Docket
No. 19961*BH02)

Ruby Ledbetter v. Merck & Co., Inc., Docket No. 14-07-0551-CV, State of Texas
Court of Appeals for the Fourteenth Court of Appeals District (Original Docket
No. 2005-58543, Master Docket No. 2005-59499)

John McDarby v. Merck & Co., Inc., Docket No. A-000076-07 T1, Superior
Court of New Jersey, Appellate Division (Original Docket No. ATL-L-1296-05-
MT)

Frederick Humeston v. Merck & Co., Inc., Docket No. ATL-L-2272-03-MT,
presently venued in the Superior Court of New Jersey, Law Division, Atlantic
County

Felicia Garza v. Merck & Co., Inc., No, 04-07-00234-CV, State of Texas Court of
Appeals For the Fourth Court of Appeals District (Original Docket No. DC-03-
84, 229th Judicial District of Starr County, Texas)

Kathleen Hermans Messerschmidt v. Merck & Co.,. Inc., No. ATL-L-5520-05
MT, Superior Court of New Jersey, Law Division, Atlantic County

Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 30 of 33

Exhibit 17.1.28

ENROLLMENT FORM

This Enrollment Form pertains to the Settlement Agreement (“the Agreement”) dated
November _, 2007, incorporated herein by reference, including but not limited to the program
for resolution of claims relating to the use of Vioxx described therein (generally and coilectively
referred to herein as the “Resolution Program” or “the Program’).

I, the undersigned, am submitting an updated version of the spreadsheet previously
submitted by me initially for Registration of Claims pursuant to Section 1.1 of the Agreement, as
may have been subsequently revised or updated in connection with the terms of the Agreement
and the Registration Order (“Claimant Spreadsheet”). This updated Claimant Spreadsheet
identifies, inter alia, (i) those claims for which I am the Primary Counsel; (ii) those Eligible
Claimants for whom I hereby submit this Enrollment Form, as of the date indicated below; (iii)
those claims listed in the Claimant Spreadsheet previously as Claims in which I have an Interest,
but in which I or other affiliated counsel no longer have an Interest, including a certification
whether any remuneration was received or promised in connection with disposition of any
Interest in any such Claim; and (iv) claims not previously listed on my Claimant Spreadsheet in
which J did not previously, but now do, have an Interest. I hereby certify that I have undertaken
to verify the accuracy of the the information contained in the spreadsheet, and that it is true and
correct to the best of my knowledge and information.

I hereby represent and certify that I, or another attorney in my office, have communicated
with and explained the contents of the Agreement to the individuals on whose behalf I am
submitting this Enrollment Form, and that [ have full authority to submit this Enrollment Form
on their behalf. I further represent that I have explained to those individuals that if their »
Enrollment Form is accepted under the terms of the Agreement: (1) participation in the
Resolution Program subjects them to the authority of those persons specified in the Agreement,
including, but not limited to, the Chief Administrator, the Special Master, and any Deputy
Special Masters; (2) in connection with entry into the Program they are releasing their claims
against the entities and individuals identified in the attached Release (Exhibit C), and that their
Release may not be retumed other than under the limited circumstances provided in Section 2.7
of the Agreement; (3) enrollment terminates any lawsuits which they have brought or could have
been brought, other than as provided by Section 2.7, and no claim may be advanced other than as
permitted under the Agreement; (4) the Resolution Program provides their sole and exclusive
remedy for their claims, and that they will be bound by its results whatever they may be, other
than as may be provided for under Section 2.7 ofthe Agreement; and (5) the potential benefits
and risks to them if they enter the Resolution Program,

[hereby agree to the terms of the Setilement Agreement. In addition, in submitting this
Enrollment Form for the persons so identified on the Claimant Spreadsheet attached hereto as
Attachment A, I consent and agree on their behalf, and with their full authorization, to the terms
of the Agreement, As required by the Agreement, I have executed individual Stipulations of
Dismissal with Prejudice (Attachment B) for these Eligible Claimants, and I submit those
stipulations with this Enrollment Form. I am also submitting the Release (Attachment C) and
Medical Records Authorization Form (Attachment D), each signed by the Eligible Claimant (or
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 31 of 33

their respective, duly and lawfully appointed representative). For any Eligible Claimant who is
claiming past lost wages, pursuant to section 4.2 of the Agreement, I am also attaching a signed
Employment Authorization Form (Attachment E) signed by that Eligible Claimant. With respect
to the Medical Records Authorization and the Employment Records Authorization Form, I have
advised the Eligible Claimant (or their respective, duly and lawfully appointed representative)
that he or she may be asked to sign additional copies of these Authorizations or other
authorizations that may be required by the Claims Administrator, Merck & Co., Inc. or providers
of the records. The Eligible Claimant and I agree to cooperate fully in promptly providing any
additional authorizations upon request. The Eligible Claimant and I agree to cooperate fully in
promptly providing any such other form of Stipulation of Dismissal with Prejudice, if requested.

I further acknowledge that under the terms of the Agreement, no Eligible Claimant for
whom I have submitted an Enrollment Form will be deemed to have been Enrolled until such
time as the requirements of Section 1.2 of the Agreement have been met with respect to all
claims in which I have an Interest in that (i) I have submitted an Enrollment Form for all such
Eligible Claimants; or (ii) Enrollment Forms have been submitted for such Eligible Ciaimants by
another attomey where I am not the Primary Counsel, and (iii) 1 have completed and executed
the Certification of Final Enrollment attached hereto as Exhibit F.

ACCEPTED AND AGREED:

Dated:

[Plaintiffs’/Claimants’ Attorney Name]
[Law Firm Name]

[Address]

[City/Town, State, Zip Code]

[Area Cod/Phone Number]

[Area Code/Fax Number]

[Email address]
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 32 of 33

ENROLLMENT FORM INSTRUCTIONS

These instructions pertain to the Enrollment Form referenced in the Settlement Agreement (“the
Agreement”) dated November __, 2007, pertaining to the program for resolution of claims
relating to the use of Vioxx described therein (generally and collectively referred to herein as the
“Resolution Program” or “the Program”).

i.

In connection with this Enrollment Form, Primary Counsel, as defined by the Registration

Order, shall be designated to complete the form on behalf of each Eligible Claimant unless
the Eligible Claimant is pro se.

To enroli in the Resolution Program, the following documents must be reat dated,

signed and submitted to the Claims Administrator (collectively referred to herein as the
“Enrollment Materials”), Execution copies of such documents shall be obtained from the
Claims Administrator by such means as the Claims Administrator shall provide.

a.

b.

Completed Enrollment Form;
Claimant Spreadsheet (Attachment A).;

Stipulation of Dismissal with Prejudice (Attachment B to this Enrollment Form) for
each case, properly captioned for filing with the Court where the matter is currently
pending, signed by counsel for plaintiff(s} each Eligible Claimant identified as
enrolling on the Claimant Spreadsheet.; and

Release (Attachment C to this Enrollment Form) signed by each Eligible Claimant (or
his/her respective, duly and lawfuliy appointed representative) identified as enrolling
on the Claimant Spreadsheet. If and if the Release is signed by a duly and lawfully
appointed representative of an Eligible Claimant, said representative must indicate on
each document his or her relationship to the Eligible Claimant and the authority upon
which he or she is permitted to sign the document on their behalf (e.g., guardian,
executor or administrator of the Estate of Eligible Claimant, etc.) and attach proper
documentation (e.g., power of attomey, letters of administration) authorizing him or
her to act in this representative capacity.

Medica! Record Authorization Form (Attachment D to this Enrollment Form) signed
by each Eligible Claimant (or his/her respective, duly and lawfully appointed
representative) identified as enrolling on the Claimant Spreadsheet; and

Employment Record Authorization Form (Attachment E to this Enrollment Form)
signed by each Eligible Claimant (or his/her respective, duly and lawfully appointed
representative) identified as enrolling on the Claimant Spreadsheet (Attachment A)
only if seeking past lost wages under section 4.2 of the Agreement,

ADDITIONAL INSTRUCTIONS FOR THE MEDICAL RECORDS
AUTHORIZATION FORM AND EMPLOYMENT RECORD AUTHORIZATION
FORM
Case 2:05-md-01657-EEF-DEK Document 15210-4 Filed 07/09/08 Page 33 of 33

g.

h.

The Eligible Claimant (or their respective, duly and lawfully appointed
representative) must complete the top portion of the Authorizations with the name,
date of birth and social security number of the Eligible Claimant who used Vioxx and

sign where indicated.

The Eligible Claimant (or their respective, duly and lawfully appointed
representative) shall LEAVE BLANK the name and address lines for the person or
entity from whom records are sought. The Eligible Claimant (or their respective,
duly and lawfully appointed representative) understands that these blank lines shall be
filled in by the Receiving Parties or their representatives or designated agents with the
names of the healthcare providers and employers (depending on the form) identified
in the Claim Form.

The Eligible Claimant (or their respective, duly and lawfully appointed
representative) shall NOT date the Authorizations. The Eligible Claimant (or their
respectrve, duly and lawfully appointed representative) understands that the
Receiving Parties or their representatives or designated agents will date the
Authorizations when the Authorizations are sent to the providers of the records.

If the Authorization are signed by duly and lawfully appointed representatives of a
Eligible Claimant, said representative must describe his or her relationship to the
Eligible Claimant and the authority upon which he or she is permitted to sign the
Authorization on behalf of the Eligible Claimant (e.g., guardian, executor or
administrator of the Estate of Eligible Claimant, etc.}, where indicated on the
Authorization. Said representative must also attach to the Authorization proper
documentation (e.g., power of attorney, letters of administration) authorizing him or
her to act in this representative capacity.

3. Submit a complete set of these Enrollment Materials to the Claims Administrator by such
means as may be directed or permitted by the Claims Administrator.
